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                     IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF WISCONSIN

DARON E. RILEY                                )
                                              )         Case No.: 21CV518
       Plaintiff,                             )
                                              )
       v.                                     )
                                              )
THE UNITED STATES OF AMERICA,                 )
                                              )
UNITED STATES DEPARTMENT                      )
OF VETERANS AFFAIRS,                          )
                                              )
TWIN CITY FIRE INSURANCE                      )
COMPANY,                                      )
                                              )
       Defendants.                            )

                                      COMPLAINT

       Daron Riley, through his attorneys, Egan & Richgels, S.C., sets forth as his

complaint against the Defendant, the United States of America:

                                 Jurisdiction and Venue

       1.     This action is brought pursuant to the Federal Tort Claims Act, 28 U.S.C. §

2671 et seq., over which exclusive jurisdiction is vested in this Court pursuant to 28

U.S.C. § 1346(b).

       2.     Venue in this Court is proper under 28 U.S.C. § 1402(b) as Plaintiff resides

within the jurisdictional boundaries of the Western District of Wisconsin and the acts and

omissions complained of occurred therein.




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       3.     Plaintiff Daron Riley is an adult resident of the State of Wisconsin and at

all times relevant hereto Daron Riley resided within the jurisdictional boundaries of the

Western District of Wisconsin.

       4.     The United States of America is the proper Defendant because the tortious

acts and omission alleged herein were acts and omissions by physicians, surgeons,

nursing staff, and/or other medical personnel employed by and/or who were employees of

the United States of America, the United States Department of Veterans Affairs, and/or

The Tomah VA Medical Center in Tomah, Wisconsin, a facility, entity, and/or institution

operated by and owned by the United States of America and/or the United States

Department of Veterans Affairs. In doing or omitting to have done the things alleged

herein, those persons were acting within the course and scope of their authority as agents

and employees of the United States of America.

       5.     Defendant the US Department of Veterans Affairs (hereafter “VA”), is the

agency responsible for, among other things, operating clinics, hospitals, and health care

facilities to care for veterans eligible for such care. Upon information and belief, the VA

may have paid health claims and/or medical bills on behalf of Plaintiff for medical care and

services rendered as a result of the injuries he sustained in the incident which is the subject

of this lawsuit and/or the VA may have provided medical care and services to Plaintiff as a

result of the injuries he sustained in the incident which is the subject of this lawsuit. The

VA may accordingly be entitled to reimbursement for related, paid claims and/or provided

services if Plaintiff receives proceeds through settlement or judgment.



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       6.       Upon information and belief, Twin City Fire Insurance Company

(“TCFIC”) is a foreign insurance company that is licensed to and that is engaged in the

business of writing automobile insurance in the State of Wisconsin. TCFIC has made

certain payments to Plaintiff with regard and related to property damage to Plaintiff’s

vehicle suffered as a result of the incident hereinafter alleged and TCFIC has a

subrogated interest in this action and is accordingly a proper defendant herein. Further,

Plaintiff asserts no claim for affirmative relief against TCFIC.

       7.       Pursuant to the Federal Tort Claims Act, an administrative claim for

compensation based on the incident described herein was timely presented by Plaintiff on

or about October 22, 2020.

       8.       To-date, Plaintiff has not received a written denial of his administrative

claim sent by certified or registered mail in compliance with the requirements of 28

U.S.C. § 2675(a). Given that more than six months have passed since Plaintiff’s

administrative claim was presented, per 28 U.S.C. § 2675(a), Plaintiff may bring this suit

at this time.

       9.       On or about October 29, 2019, Daron E. Riley presented with chest pains to

the Urgent Care Clinic at the Tomah VA Medical Center in Tomah, Wisconsin. Mr.

Riley was primarily examined and treated by Dr. Kazi Rayhan and diagnostic tests were

interpreted by Dr. Christine Nardoi.

       10.      At all times relevant hereto and at all times they did or failed to do the acts

alleged herein, Dr. Rayhan and Dr. Nardoi were acting within the course and scope of

their authority as agents and employees of the United States of America.

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       11.    As set forth herein, Dr. Rayhan and Dr. Nardoi were negligent in the

manner in which they provided care and medical services to Daron Riley and/or

evaluated Daron Riley’s symptoms in that they did not use the degree of care, skill, and

judgment usually exercised by the average physician in the same or similar

circumstances.

       12.    Dr. Rayhan’s and Dr. Nardoi’s negligent acts and omissions include, but

are not limited to, failing to properly evaluate Daron Riley’s chest pains and failing to

properly diagnose and treat Daron Riley’s then-ongoing myocardial infarct and/or his

then-ongoing ventricular tachacardia, including, but not limited to, misreading or

misinterpreting an EKG. As a result, they wrongfully and negligently diagnosed Daron

Riley with gastroesophageal reflux disease (GERD) and, despite Daron Riley’s abnormal

EKG, discharged him without arranging a cardiology consultation, did not discharge him

before ruling out that he was having an emergent cardiac event, and/or discharged him

without properly treating his cardiac event.

       13.    Daron Riley was in fact suffering from an emergent cardiac event and he

suffered a major heart attack while driving his vehicle home from the Urgent Care Clinic

at the Tomah VA Medical Center. As a direct and proximate result of the heart attack, he

lost control of his vehicle and was involved in a serious, one-vehicle motor vehicle

collision when the vehicle he was operating struck a building while traveling at a

substantial speed.

       14.    Daron Riley was seriously injured as a direct and proximate result of the

delay associated with proper and timely treatment of his cardiac event and as a direct and

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proximate result of the above motor vehicle collision. Dr. Rayhan’s and/or Dr. Nardoi’s

negligence was a substantial factor in causing permanent heart damage and the motor

vehicle collision.

       15.    The above-described negligence of Dr. Rayhan and/or Dr. Nardoi and/or

the motor vehicle collision which occurred as a direct and proximate result of their

negligence were substantial factors in producing severe and permanent injuries to Daron

Riley, including, but not limited to, brain injury, primarily due to a closed head injury

and/or anoxia, resulting in cognitive and linguistic impairment; speech difficulties;

expressive aphasia; impaired mobility; issues with vision; and permanent heart damage

all resulting in profound disability.

       16.    As a direct and proximate result of Dr. Rayhan’s and/or Dr. Nardoi’s

negligence and the above-described permanent injuries, Daron Riley has and/or will

suffer past and future physical and mental pain, suffering, disability, loss of

independence, loss of enjoyment of life, wage loss, impairment of earning capacity, past

and future medical and related expenses, and other compensable injuries all to his

damage in an amount to be determined by a jury.

       17.    In addition, during the period of time that Daron Riley was a patient at the

Urgent Care Clinic at the Tomah VA Medical Center, agents and/or employees of the

United States of America, the United States Department of Veterans Affairs, the Urgent

Care Clinic at the Tomah VA Medical Center, and/or the Tomah VA Medical Center

other than Dr. Rayhan and/or Dr. Nardoi, including, but not limited to support staff and



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employees, were negligent with respect to the care and treatment furnished to Daron

Riley.

         18.   At all times relevant hereto and at all times they did or failed to do the acts

alleged herein, said agents and/or employees of the United States of America, the United

States Department of Veterans Affairs, the Urgent Care Clinic at the Tomah VA Medical

Center, and/or the Tomah VA Medical Center other than Dr. Rayhan and/or Dr. Nardoi,

were acting within the course and scope of their authority as agents and employees of the

United States of America.

         19.   As a direct and proximate result of the aforesaid negligence of the said

agents and/or employees of the United States of America, the United States Department

of Veterans Affairs, the Urgent Care Clinic at the Tomah VA Medical Center, and/or the

Tomah VA Medical Center, including, but not limited to, Dr. Rayhan and/or Dr. Nardoi,

Daron Riley sustained serious and permanent personal injuries which have and will cause

him past and future physical and mental pain, suffering, disability, loss of independence,

loss of enjoyment of life, wage loss, impairment of earning capacity, past and future

medical and related expenses

         20.   Further, as a direct and proximate result of Defendant’s negligence described

above and the resulting motor vehicle collision, Plaintiff suffered severe damage to his

property; specifically, damage to his motor vehicle.




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       WHEREFORE, Plaintiff demands judgment against the Defendants or such of

them as the court may determine to be liable to the Plaintiff under the circumstances

existing herein as follows:

       A.     For compensatory damages in accord with the law not to exceed that which
              was contained in his Administrative Claim.

       B.     In the event of a settlement or verdict in favor of Plaintiff, for an order
              declaring that the claim of Plaintiff to such settlement or verdict is
              paramount to any claims of any subrogated parties and for a judgment
              extinguishing and dismissing all subrogation claims.

       C.     For Plaintiff’s costs, disbursements, and attorney’s fees in this action.

       D.     For such other and further relief as the court deems just and equitable.



Dated this 17th day of August, 2021

                                           EGAN & RICHGELS, S.C.

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